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                    UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY


 Defense Distributed, et al.                     No. 3:19-cv-4753
                                                 No. 3:21-cv-9867
                    Plaintiffs,

                    v.

 Matthew J. Platkin, Acting New Jersey
 Attorney General,
                   Defendant.


                  Plaintiffs’ Notice of Motion to Reconsider
             the Order Denying Plaintiffs’ Motion to Transfer and
                    Request for Expedited Consideration


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PLEASE TAKE NOTICE that:

      1.     Plaintiffs move for reconsideration of the Opinion entered in Case No.

No. 3:19-cv-4753 as Document 59 on July 27, 2022, and the Order entered in Case

No. No. 3:19-cv-4753 as Document 59 on July 27, 2022.

      2.     Plaintiffs support the motion and request for expedited treatment with

their amended complaint and the brief and other matters submitted herewith.

      3.     Plaintiffs do not request oral argument.

      4.     Plaintiffs submit a proposed form of order herewith.

      5.     Plaintiffs request expedited consideration because the case involves

extraordinary constitutional concerns, irreparable injury that is occurring now, and

further irreparable injury that is imminently threatened. The United States Court of

Appeals for the Fifth Circuit has ruled that this case belongs in the United States

District Court for the Western District of Texas and – critically – that, “[u]pon return

of this case to the Western District of Texas, the court should entertain a motion for

preliminary injunction expeditiously.” Def. Distributed v. Bruck, 30 F.4th 414, 421

n.2 (5th Cir. 2022). Expediting this Court’s handling of the transfer back to Texas

fulfills that key aspect of the Fifth Circuit’s decision.
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 Date: July 27, 2022                    Respectfully submitted,

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